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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,                    NO: 2:17-CR-128-RMP-9

 8                              Plaintiff,
            v.                                     ORDER OF DISMISSAL
 9

10    LUCAS T. CASSIDY, II (9),

11                              Defendant.

12

13         BEFORE THE COURT is a Pretrial Services Report, ECF No. 229,

14   reporting that Defendant Lucas T. Cassidy died on November 8, 2017. Mr. Cassidy

15   had entered a guilty plea, ECF No. 197, to one count of the Indictment, ECF No. 1,

16   in this matter on October 27, 2017. At the time that the Court accepted Mr.

17   Cassidy’s guilty plea, the Court scheduled sentencing for January 11, 2018. ECF

18   No. 198.

19         The general rule is that “death pending appeal of a criminal conviction abates

20   not only the appeal but all proceedings in the prosecution from its inception.”

21   United States v. Oberlin, 718 F.2d 894, 895 (9th Cir. 1983) (citing Durham v. United


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 1   States, 401 U.S. 481, 483 (1971) (per curiam); see also United States v. Christopher,

 2   273 F.3d 294, 297 (3d Cir. 2001) (“[W]here a convicted criminal defendant dies

 3   after filing an appropriate appeal, the conviction will be abated and the case

 4   remanded to the district court with instructions to dismiss the indictment.”). The

 5   Ninth Circuit also has abated the prosecution of a defendant who died following

 6   conviction but prior to entry of judgment. Oberlin, 718 F.2d at 895–96 (“We see no

 7   reason to treat a criminal defendant who dies before judgment is entered any

 8   differently from one who dies after a notice of appeal has been filed. In either case,

 9   he is denied the resolution of the merits of the case on appeal.”). Therefore, in light

10   of Mr. Cassidy’s death, the Government’s cause of action against Mr. Cassidy has

11   abated ab initio, negating his conviction.

12         Accordingly, IT IS HEREBY ORDERED that:

13             1. The Indictment at ECF No. 1 is DISMISSED as to Mr. Cassidy.

14             2. All previously set court dates, including the sentencing date, are

15                STRICKEN.

16         The District Court Clerk is hereby directed to enter this order, provide copies

17   to counsel and the United States Probation Office, terminate Lucas Cassidy as a

18   Defendant in this case, and close the file.

19         DATED November 15, 2017.

20
                                                 s/ Rosanna Malouf Peterson
21                                            ROSANNA MALOUF PETERSON
                                                 United States District Judge

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